                  Case 17-33931 Document 48 Filed in TXSB on 11/30/17 Page 1 of 2
                                      In The United States Bankruptcy Court
                                        For The Southern District of Texas
                                                 Houston Division
In Re: Arick Ryan Russell                                                                      Case No: 17-33931-H2-13
       Debtor(s)


                            MOTION TO DISMISS FOR FAILURE TO MAKE PAYMENTS


COMES NOW, William E. Heitkamp, Chapter 13 Trustee filing this MOTION TO DISMISS, and would show
the Court as follows:

     The Chapter 13 Trustee moves to dismiss this case based on the debtor (s), failure to make required
payments. At the time of the filing of this motion the debtors are delinquent $8456.90, an amount constituting
not less than 2 months of required payments.

   The total amount of the payments due under the plan at the time of the filing of this motion is $17,000.00.
The total of all funds paid to the Trustee as of the date of filing of this motion is $8,543.10. An itemized
payment history may be obtained by contacting the Trustee's office by phone or accessing the National
Datacenter's website at www.NDC.org.

                            NOTICE TO DEBTORS: YOU MUST DO ONE OF THE FOLLOWING:

    1. BRING YOUR PAYMENTS CURRENT WITHIN 15 DAYS OF THE DATE ON THIS MOTION.

    2. FILE A RESPONSE WITHIN 15 DAYS THAT SHOWS THAT YOUR PAYMENTS ARE CURRENT.

   IF YOU FAIL TO DO SO, THE BANKRUPTCY COURT WILL PROBABLY DISMISS YOUR
BANKRUPTCY CASE AND MAY DO SO WITHOUT A HEARING. THE BANKRUPTCY COURT WILL NOT
ALLOW PAYMENTS TO BE MADE AT THE HEARING.

   If a timely response is filed, a hearing will be held on January 23, 2018 at 10:00 am at the U.S.
Courthouse, 515 Rusk, Courtroom # 400.

    WHEREFORE, the Trustee prays that the Court enter an Order of Dismissal or such other relief as may
be deemed just and appropriate.


                                                                     Respectfully Submitted,

                                                                      /s/ William E. Heitkamp, Trustee
                                                                     WILLIAM E. HEITKAMP, TRUSTEE
                                                                     ADMISSIONS ID NO. 3857
                                                                     9821 KATY FREEWAY, SUITE 590
                                                                     HOUSTON, TEXAS 77024
                                                                     713-722-1200
                Case 17-33931 Document 48 Filed in TXSB on 11/30/17 Page 2 of 2

                                          CERTIFICATE OF SERVICE


I certify that a true and correct copy of this foregoing document was sent to the Debtor (s), Debtor’s Attorney,
the U.S. Trustee and all parties requesting notice on or about the time this document was electronically filed
with the Clerk on 11/30/2017.

Electronically signed by
William E. Heitkamp, Chapter 13 Trustee
